                Case 2:11-cr-00490-DAD Document 144 Filed 03/24/14 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 LEE S. BICKLEY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2727

 5

 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8
 9

10

11 UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-00490 JAM

12                    Plaintiff,
                                                        PROTECTIVE ORDER RE:
13         v.                                           DISSEMINATION OF DISCOVERY
                                                        DOCUMENTS CONTAINING
14 IRINA MARKEVICH, et al.,                             PERSONAL IDENTIFYING
                                                        INFORMATION
15                    Defendants,

16

17       IT IS HEREBY ORDERED that the documents provided as discovery in this case to

18 defense counsel are subject to a Protective Order. Defendants are charged with engaging in a

19 mortgage fraud scheme.

20       Discovery in this case contains “Protected Information,” which is defined here as including

21 victim, co-defendant and witness social security numbers, driver’s license numbers, bank

22 account numbers, dates of birth, addresses, telephone numbers, email addresses, names of minor

23 children, financial records, tax records, and immigration records. The Protective Order signed in

24 this case extends to all documents provided, including those concerning conduct not directly

25 charged in the Indictment.

26       The Protected Information is being entrusted to counsel only for the purposes of

27 representing his/her respective defendant in this criminal case and for no other purpose. Defense

28 counsel may not to share any documents that contain Protected Information with anyone other

29     Proposed Protective Order                    1
               Case 2:11-cr-00490-DAD Document 144 Filed 03/24/14 Page 2 of 3


 1 than his/her designated defense investigators, experts, and support staff. Defense counsel will

 2 have a duty to inform their defense investigators, experts, and support staff of this Order and

 3 provide them with a copy of it. Defense counsel may permit the defendants to review the

 4 Protected Information and be aware of its contents, but defendants shall not be given control of

 5 the Protected Information or be provided any copies of the Protected Information which has not

 6 been redacted of the Protected Information. Any person receiving Protected Information or a

 7 copy of the Protected Information from counsel for the defendants shall be bound by the same

 8 obligations as counsel and further may not give the Protected Information to anyone (except that
 9 the protected documents shall be returned to counsel).

10        With respect to defendant Alex Markevich, who is representing himself, discovery provided

11 to Alex Markevich is being entrusted to him only for the purposes of representing himself and

12 for no other purpose. Alex Markevich may not share any documents that contain Protected

13 Information with anyone other than his designated defense investigators, experts and any support

14 staff or counsel he employs. He has a duty to inform defense investigators, experts, staff and

15 counsel of this Order and provide them with a copy of it. Alex Markevich may not share the
16 Protected Information with other defendants in his case. Any person receiving Protected

17 Information or a copy of the Protected Information from Mr. Markevich shall be bound by the

18 same obligations as him and further may not give the Protected Information to anyone.

19        All counsel and defendant Alex Markevich will store Protected Information in a secure

20 place and use care to ensure that information is not disclosed to third parties in violation of this

21 agreement. At the conclusion of the case, all defense counsel and Alex Markevich will destroy

22 all copies of Protected Information or to return the Protected Information to the United States

23 and certify to the United States that this has been accomplished.

24        Notwithstanding the foregoing, counsel, Alex Markevich, staff and/or the investigator for

25 the defendant may make copies of the Protected Information for trial preparation and

26 presentation. Any copies must, however, remain in the possession of counsel, Alex Markevich,
27 investigators, staff, expert or the Court.

28

29      Proposed Protective Order                     2
              Case 2:11-cr-00490-DAD Document 144 Filed 03/24/14 Page 3 of 3


 1       Nothing in this Stipulation and Protective Order prevents a defense counsel or his/her

 2 respective defendant from maintaining unredacted copies of records concerning that respective

 3 defendant’s own Protected Information.

 4       In the event that the defendant substitutes counsel, undersigned defense counsel agrees to

 5 withhold these documents from new counsel unless and until substituted counsel agrees also to

 6 be bound by this order.

 7       IT IS SO ORDERED:

 8 Dated: March 24, 2014
 9

10

11

12

13

14

15
16

17

18

19

20

21

22

23

24

25

26
27

28

29     Proposed Protective Order                    3
